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CO 526 Rov. 5/2018

UNITED STATES DISTRICT AND BANKRUPTCY COURTS
FOR THE DISTRICT OF COLUMBIA

UNITED STATES OF AMERICA

Vs. Criminal Case No.: CR 21-447-03

Joshua Christopher Doolin

WAIVER OF TRIAL BY JURY
With the consent of the United States Attorney and the approval of the Court, the defendant

waives his right to trial by jury.

Joshua C Doolin

Defendant Digitally signed by All
“ ed by Allen
Allen H, H. Orenberg

Date: 2023.02.13
Orenberg  jy135s-05'00

 

 

Counsel for Defendant

I consent:
/ pp 7
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ttorney

Assistant United States

Approved:

lol Kidd Date, SNNND-«3/3/2023

 

Carl J. Nichols

United States District Judge
